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                                           UNITED STATES DISTRICT COURT
                                               DISTRICT OF COLUMBIA

           UNITED STATES OF AMERICA

                        Plaintiff,
           v.                                                          No. 21-cr-399 (RDM)

           ROMAN STERLINGOV

                        Defendant.


                SUPPLEMENTAL EXPERT DISCLOSURE FOR DEFENSE EXPERT J.W. VERRET


                    This filing supplements Prof. Verret’s initial expert disclosure filed at docket number
            145. In addition, attached is a slide summary and chart that will help the jury understand
            Professor Verret’s proposed testimony. Attached as Exhibits A and B.

                   Professor Verret relies on the following publications in forming his expert opinion in
            addition to those previously disclosed in his initial expert disclosure.

                     1.      Gong, Y., Chow, K.P., Ting, H.F. and Yiu, S.M., 2022. Analyzing the Error Rates
                     of Bitcoin Clustering Heuristics. In Advances in Digital Forensics XVIII (pp. 187-205).
                     Springer, Cham.

                     (The paper describes a simulation model for validating heuristic-based address clustering
                     algorithms and obtaining the corresponding error rates. The evaluation results
                     demonstrate that the model can simulate real-world transactions. Two heuristics, multi-
                     input and one-time change, are applied. The multi-input and one-time change heuristics
                     yield average error rates of 63.46% and 92.66%, respectively. The application of both
                     heuristics yields the lowest average error rate of 57.47%.)

                     2.      C. Alden Pelker et al, Using Blockchain Analysis from Investigation to Trial, 69
                     Dep't Just. J. Fed. L. and Prac. 59, 62 (May 2021), available at
                     https://www.justice.gov/usao/page/file/1403671/download.

                     3.    Sarah Meiklejohn, The Limits of Anonymity in Bitcoin, in Routledge Handbook of
                     Criminal Science (Richard Wortley et al, eds., 2018) at 285.

                     4.      “Introduction to Bitcoin Heuristics,” CryptoQuant, July 30, 2019,
                     https://medium.com/cryptoquant/introduction-to-bitcoin-heuristics-487c298fb95b.)

                     5.     Criminal Law Bulletin. Jason Luu and Edward Imwinkelried, The Challenge of
                     Bitcoin Pseudo-Anonymity To Computer Forensics, 52 Crim. L. Bull. 191 (2016).


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                     6.      Malte Möser and Arvind Narayanan, Resurrecting Address Clustering in Bitcoin,
                     ArXivabs/2107.05749 (2021), at 1-20, available at https://arxiv.org/abs/2107.05749, an
                     article which notably mentions the lack of ground truth data in testing the effectiveness of
                     blockchain tracing.

                     7.      Yousaf et al, Tracing Transactions Across Cryptocurrency Ledgers, Proceedings
                     of the 28th USENIX Security Symposium (Aug. 2019) at 3-6, available at
                     https://www.usenix.org/system/files/sec19-yousaf_0.pdf.

                     8.     Arianna Trozze et al, Cryptocurrencies and future financial crime, 11 Crime
                     Science, 1-35 (2022)

                     9.    Natkamon Tovanich et al, Visualization of Blockchain Data: A Systematic
                     Review, 27 IEEE Transactions on Visualization and Computer Graphics, 3135 (July
                     2021)

                     10.     Douglas A. Orr, Bitcoin Investigations: Evolving Methodologies and Case
                     Studies, 9 J. Forensic Rsch, at 6 (May 2018), available at
                     https://www.hilarispublisher.com/open-access/bitcoin-investigations-evolving-
                     methodologies-and-case-studies-2157-7145-1000420.pdf.




            Witness Attestation

             I, J.W. Verret, have reviewed and approve the contents of this filing.


            ____________________                                           08/07/2023
            J.W. Verret




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